Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 1 of 41




                    Exhibit 2
                                                                                                         eFiled
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        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 2 of 41                               Superior Court
                                                                                               of the District of Columbia




                  SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                        CIVIL DIVISION
 NATIONAL CONSUMERS LEAGUE                         Civil Case No.    2024-CAB-000196
 1701 K Street NW, Suite 1200
 Washington, DC 20006,                             COMPLAINT WITH JURY DEMAND
                    Plaintiff,



 STARBUCKS CORPORATION
 2401 Utah Avenue South
 Seattle, WA 98134
 (206) 447-1575

         For Service of Process:
         Serve Registered Agent for WA:
         300 Deschutes Way SW Suite 208
         MC-CSC1 Tumwater, WA 98501,
                    Defendant.


       Plaintiff National Consumers League ("Plaintiff or "NCL'') brings this action, on behalf
                                                          >




of itself and the general public, against Defendant Starbucks Corporation ("Defendant" or

"Starbucks"). Plaintiff, by and through its attorneys, alleges the following:
                                        INTRODUCTION
        1.     Plaintiff brings this action to end Starbucks' unfair and deceptive trade practice of

misrepresenting to consumers that it is "committed to 100% ethical coffee sourcing" and to

"100% ethically sourced tea" when in reality Starbucks does not ethically source its coffee beans

or tea leaves. Instead, Starbucks sources coffee beans and tea leaves from cooperatives and farms

that have committed documented, severe human rights and labor abuses, including the use of

child labor and forced labor as well as rampant and egregious sexual harassment and assault.

       2.      Starbucks knows that there is significant and growing consumer demand for

ethically sourced goods and services, and that ethically sourced goods command a price premium
in the market. Despite the documented human rights and labor abuses in its supply chain,

Starbucks has sought to capitalize on this growing consumer demand by misleadingly branding



                                                  -1
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 3 of 41



itself as a company whose “commitment to fundamental human rights” is at its “core,” and by

falsely assuring consumers that Starbucks coffee and tea products are ethically sourced.

       3.      Not only does Starbucks promote its supposed commitment to ethical sourcing

throughout its website and social media, but Starbucks also prominently displays that it is

“Committed to 100% Ethical Coffee Sourcing” on the front of every retail bag of coffee beans

and every box of K-Cup coffee pods it sells throughout the country.

       4.      Contrary to Starbucks’ ethical sourcing representations, governmental

investigators and journalists have repeatedly uncovered egregious forms of worker exploitation

occurring on farms supplying to Starbucks and/or “certified” by Starbucks as “ethical.”

       5.      For example, last year the Brazilian labor prosecutor issued a complaint against

Starbucks’ largest Brazilian supplier, the Cooxupé cooperative, citing abusive and unsafe

working conditions analogous to slavery, yet Starbucks continues to source from Cooxupé.

       6.      Similarly, investigative journalists have uncovered extreme forms of worker

exploitation and violence at farms supplying tea to Starbucks. For example, undercover BBC

reporters recently exposed rampant gender-based violence and sexual harassment at a Starbucks

supplier, the James Finlay & Co. tea plantation in Kenya, where women reported being forced to

engage in sexual acts in exchange for work.

       7.      Rather than take meaningful action to address the publicly known labor and

human rights violations in its international supply chains, as consumers would expect from a

company that professes “commitment to 100% ethical[] sourc[ing],” Starbucks has instead

turned a blind eye and continued to point to so-called ethical “certification” programs that are

known to be unreliable as the basis for its representations that its coffee and tea products are

ethically sourced.

       8.      Consumers have been misled by Starbucks’ deceptive advertising, and Starbucks,

with annual profits exceeding $21 billion, has unjustly benefited from branding itself as an

industry leader in corporate responsibility while hiding the true nature of its unreliable and

inadequate sourcing practices.


                                                  -2-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 4 of 41



       9.      On behalf of itself and the general public, Plaintiff therefore brings this action for

violations of the District of Columbia’s Consumer Protection Procedures Act (“CPPA”), D.C.

Code §§ 28-3901 et seq., seeking declaratory and injunctive relief, damages, including treble

and/or statutory damages, attorneys’ fees and costs, and any other relief the Court deems just and

appropriate.

                                              PARTIES

       10.     Plaintiff NCL is a § 501(c)(3) non-profit, public-interest, membership

organization founded in 1899 and dedicated to consumer protection, including efforts to

encourage and promote accurate labeling on food and beverage products. Plaintiff is located at

1701 K Street N.W., Suite 1200, Washington, D.C. 20006. Plaintiff has purchased Starbucks

coffee and tea products. Plaintiff brings this action on behalf of itself and the interests of the

general public pursuant to D.C. Code § 28-3905(k)(1).

       11.     A central part of Plaintiff’s work is to hold companies accountable for the claims

they make on food products. In support of this central organizational mission, Plaintiff NCL has

historically pursued advocacy before state and federal agencies and legislators, educational

outreach to the public, and litigation to promote and encourage reliable and accurate product

labeling for consumers.

       12.     NCL has also advocated on behalf of workers’ rights from its earliest days,

including by playing a role in establishing the eight-hour workday, child labor laws, and the

minimum wage. NCL continues to promote safety and fairness across all employment sectors

and to fight to protect and improve workers’ rights.

       13.     Further, NCL champions corporate social responsibility initiatives and has

previously commissioned a survey demonstrating the importance of workers’ rights to consumer

preferences.

       14.     Plaintiff NCL has a sufficient nexus to adequately represent the interests of D.C.

consumers of Starbucks coffee and tea. It has a history of litigating for consumers in D.C. courts

to prosecute false advertising on food and beverage products such as bread, baby formula, spices,


                                                   -3-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 5 of 41



and packaged cereal. It also has a history of challenging retailers in D.C. courts for

“bluewashing,” or marketing with false claims of corporate social responsibility.

        15.      Defendant Starbucks is a Washington corporation with its principal place of

business in Seattle, Washington. Starbucks is one of the largest coffee house chains and coffee

manufacturers in the world and also sells a line of tea, branded as Teavana. Starbucks sells and

uniformly markets its products for sale throughout the country, including in Washington, D.C.

        16.      Starbucks is a “person” and a “merchant” that provides “goods” within the

meaning of the CPPA. See id. § 28-3901(a)(1), (3), (7).

                                  JURISDICTION AND VENUE
        17.      This Court has jurisdiction over this matter. District of Columbia superior courts

have subject-matter jurisdiction over CPPA actions such as this one pursuant to D.C. Code §§

28-3901 et seq.

        18.      Plaintiff NCL performs its work throughout the United States, including the

District of Columbia. Plaintiff is registered as a nonprofit in the District of Columbia, and

members of Plaintiff’s staff reside and work in or near the District.

        19.      This Court has personal jurisdiction over Starbucks because Starbucks has

purposefully directed its conduct to the District and has availed itself of the benefits and

protections of District of Columbia law, including by marketing, distributing, and selling its

coffee and tea products to consumers in the District of Columbia.
        20.      Venue is proper in this Court because Starbucks aims marketing and advertising

material at consumers within the District. Starbucks’ internet advertising is accessible in the

District. Starbucks sells products bearing the challenged labeling in the District, and such

products are purchased by consumers in the District.

                                   FACTUAL ALLEGATIONS

   I.         Consumers Care About Ethical Sourcing and Are Willing to Pay a Premium for
              Ethically Sourced Products.
        21.      Consumers today are sensitive to the human cost behind the products they buy

and care deeply about the kind of labor practices present in supply chains.

                                                   -4-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 6 of 41



       22.     According to one national survey, 60% of consumers would stop using a product

if they knew that human trafficking or forced labor was used to create it.1

       23.     Another national study found that 77% of U.S. consumers are motivated to

purchase products from companies committed to making the world a better place. Nearly 80% of

consumers surveyed further stated that paying employees fair wages is the first step in carrying

out such a commitment.2

       24.     A different national survey the same year collected similar reports from American

consumers, finding that 70% want to know what brands are doing to address social and

environmental issues. Forty-six percent (including a majority of millennials) in this survey

reported that they pay close attention to a company’s efforts at social responsibility before they

make a purchase.3
       25.     A 2022 market study reports that the importance of corporate social responsibility

to consumers has grown such that over a quarter would pay a 10% price premium for products

that make certain social responsibility promises, including that they support local economies.4

       26.     A recent McKinsey & Co. study analyzing U.S. sales data from 2017 to June

2022 bears out the effects of such growing consumer preference for responsibly produced goods.

The McKinsey study found that products with corporate responsibility advertising achieved

disproportionate growth in sales compared to analogous products that were marketed without

corporate responsibility claims. Put another way, McKinsey determined that products advertised
as responsibly produced saw a greater growth in sales than those that were not. Products that the




1
  Stephen DeAngelis, Even If Consumers Aren’t Aware of Human Trafficking, Companies Need to Be,
ENTERRA SOLUTIONS (Mar. 6, 2020), https://enterrasolutions.com/blog/even-if-consumers-arent-aware-
of-human-trafficking-companies-need-to-be/.
2
  2019 Aflac CSR Survey, AFLAC (July 2019), https://www.aflac.com/docs/about-aflac/csr-survey-
assets/2019-aflac-csr-infographic-and-survey.pdf.
3
  Consumers Expect the Brands They Support to Be Socially Responsible, CERTUS INSIGHTS (Sept. 2019),
https://certusinsights.com/wp-content/uploads/2019/10/Markstein-Social-Responsibility-_-Certus-
Insights-Research-_.pdf.
4
  Consumer Trends 2022: Corporate Social Responsibility and Consumer Activism, LEGER (Feb. 1,
2022), https://blog.legerusa.com/consumer-trends-2022-consumer-activism.
                                                  -5-
           Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 7 of 41



McKinsey study found enjoyed the corporate-responsibility sales bump included packaged

coffee.5

          27.      Similarly, an earlier study led by researchers at Harvard University studied

consumer willingness to pay a premium for ethically sourced coffee that is produced without the

use of forced or child labor. The Harvard study found that consumers were willing to pay an

average of 23% more for coffee certified as ethically produced.6

    II.         To Satisfy and Capitalize on Consumer Demand for Ethically Sourced Products,
                Starbucks Actively Markets and Brands Itself as Committed to Global Human
                Rights and “Ethical Sourcing.”
          28.      Starbucks is no doubt aware of the consumer demand for ethically sourced

products free of the use of child or forced labor, gender-based violence, and other labor and

human rights violations, as well as the market price premium that ethically sourced products

command.

          29.      To satisfy and capitalize on this growing consumer demand for ethically sourced

products, Starbucks has launched a wide-ranging campaign to brand and market itself not only as

a responsible, socially conscious company, but as a leader in the field of ethical coffee and tea

sourcing that is “committed to 100% ethical” sourcing of these products.

          30.      Targeting consumers concerned about corporate social impact, Starbucks

advertises that a “global commitment to fundamental human rights” is “a core component of the
way” the company does business.7 In this vein, Starbucks publicizes its “Global Human Rights

Statement,” which promises consumers that Starbucks “respect[s] the human rights of

individuals and communities impacted by [its] operations and products, and . . . commit[s] to

respect the principles of the: UN Guiding principles on Business and Human Rights; UN Global

Compact; OECD Guidelines for Multinational Enterprises; International Bill of Rights; ILO

5
  Consumers Care About Sustainability—And Back it up with Their Wallets, MCKINSEY & CO. (Feb. 6,
2023), https://www.mckinsey.com/industries/consumer-packaged-goods/our-insights/consumers-care-
about-sustainability-and-back-it-up-with-their-wallets.
6
  Michael J. Hiscox, Michael Broukhim & Claire S. Litwin, Consumer Demand for Fair Trade: New
Evidence from a Field Experiment Using eBay Auctions of Fresh Roasted Coffee (Mar. 16, 2011),
https://scholar.harvard.edu/sites/scholar.harvard.edu/files/hiscox/files/consumer_demand_fair_trade.pdf.
7
  See Global Human Rights Statement, STARBUCKS STORIES & NEWS (Nov. 17, 2020),
stories.starbucks.com/press/2020/global-human-rights-statement/.
                                                     -6-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 8 of 41



Core Labor Standards; Women’s Empowerment Principles; Children’s Rights and Business

Principles[;] and Framework Principles on Human Rights and the Environment.”8

        31.     Starbucks represents not only that it is committed to global human rights

generally but moreover that it is “a leader in ethical sourcing.”9

        32.     Indeed, Starbucks advertises that it developed its own set of “ethical sourcing”

verification standards for coffee, called “Coffee and Farmer Equity (C.A.F.E.) Practices,” which

Starbucks proclaims is “designed to promote transparent, profitable and sustainable coffee

growing practices while also protecting the well-being of coffee farmers and workers, their

families and their communities.”10

        33.     Similarly, Starbucks professes its commitment to sourcing from farms certified by

the third-party supply-chain verifier Rainforest Alliance as a fundamental aspect of its broader

commitment to an “ethical sourcing standard” for its tea.11
        34.     Starbucks claims that its purported commitments to ethical sourcing

operationalize its broader commitment to global human rights. For example, Starbucks

advertises that its use of “ethical sourcing programs integrate[s] respect for human rights

throughout” its supply chain by setting standards and implementing procedures that protect

“rights such as: . . . the right to be free from forced and child labor” and “the right to just and

favorable working conditions, including ensuring the health and safety of workers.”12

        35.     A “zero-tolerance policy” for noncompliance with minimum-wage laws and the
use of forced or child labor is among the human-rights protective procedures that Starbucks

advertises is part of its C.A.F.E. Practices ethical sourcing program. In its publicly available

“Starbucks Global Academy” web materials, Starbucks teaches customers that coffee “[f]arms

that fail to meet the zero-tolerance indicators [compliance with minimum wage law and absence

8
  Id.
9
  Coffee Academy, STARBUCKS GLOBAL ACADEMY, https://starbucksglobalacademy.com/coffee-
academy/ (last visited Dec. 19, 2023).
10
   Coffee, STARBUCKS, https://www.starbucks.com/responsibility/sourcing/coffee/ (last visited Nov. 6,
2023).
11
   See Tea, STARBUCKS, https://www.starbucks.com/responsibility/sourcing/tea/ (last visited Nov. 6,
2023).
12
   See Global Human Rights Statement, supra note 7.
                                                    -7-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 9 of 41



of forced or child labor] are not allowed to participate in the program until corrective action is

taken and correction is confirmed.”13

        36.     Starbucks claims that, in this way, it “protect[s] the well-being of coffee farmers

and workers, their families and their communities”14 and is “focused on improving the

livelihoods of tea workers, smallholder farmers and their communities” within its supply chain.15

        37.     Throughout its web, print and other advertising, Starbucks further claims that its

ethical sourcing programs are essential to its business model because “[h]elping people thrive

helps ensure the long-term sustainability” of its “premium products.”

        38.     Starbucks purposefully takes steps to ensure that every Starbucks consumer is

aware of its professed commitment to global human rights and to 100% ethical sourcing, and to

cultivate in consumers a sense of trust that when they purchase Starbucks products, they are

supporting the rights and wellbeing of workers throughout Starbucks’ supply chain.

        39.     For example, in its stores, Starbucks has at times prominently displayed a placard

near the cash register that assures customers that when they buy coffee, “they help grow a

community” because their purchase helps Starbucks “invest in [worker] well being.”

        40.     Starbucks additionally assures consumers of its purported status as a leader in

ethical sourcing by prominently marketing its commitment to “100% ethical coffee sourcing” on

every retail bag of Starbucks coffee beans it sells throughout the country.




13
   Module 5.9 – Social Responsibility, at https://starbucksglobalacademy.com/explore/ (select Coffee
Academy 300).
14
   Coffee, supra note 10.
15
   Tea, supra note 11.
                                                    -8-
       Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 10 of 41



       41.     The front of every bag of coffee beans that Starbucks sells in its own stores

includes this image of a seal that proclaims, “Committed to 100% Ethical Coffee Sourcing”:




       42.     Starbucks has taken special efforts, particularly during the most recent holiday

shopping season, to reinforce to its customers that the seal means Starbucks coffee is ethically

sourced. For example, as part of its annual “Starbucks for Life” holiday promotional contest in

2023, Starbucks offered its “Starbucks Rewards” members an opportunity to win prizes by
watching and then answering questions about a video specifically discussing the seal and

C.A.F.E. Practices. The video was narrated by a Starbucks spokesperson who introduced himself

as a “green coffee buyer at Starbucks.” After a shot zooming in on an image of the seal, the

spokesperson declared that Starbucks’ “ethical sourcing stamp … [is] a lot more than just a

stamp. It means that we are buying coffee, making sure that it’s good for the planet and good for

the people who produce it.” He went on to assert that “we know that our coffee is ethically

sourced” because “we’ve developed rigorous ethical sourcing guidelines . . . verified by third

party scientific certification systems,” and he further claimed that Starbucks’ coffee supply chain


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       Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 11 of 41



“is traceable and transparent.” He again assured consumers that when he drinks Starbucks coffee,

“I know it was ethically sourced.” (Emphasis added.) After watching this video extolling

Starbucks’ ethical sourcing practices, customers were asked to parrot back its content as answers

to quiz questions about the seal’s meaning and C.A.F.E. Practices, in exchange for a chance to

win various Starbucks prizes. The video is also posted on Starbucks’ website as part of its

“Coffee Academy.”16

       43.     The front of every bag of coffee beans that Starbucks sells via third-party

retailers, such as Target, Walgreens, Safeway, and CVS, contains the same phrase, “Committed

to 100% Ethical Coffee Sourcing,” which is included on the seal:




16
  https://starbucksglobalacademy.com/coffee-academy/ongoing-learning/ (select “Committed to 100%
Ethical Coffee Sourcing (2:18)” from the vídeo library).
                                                -10-
       Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 12 of 41



       44.     Other Starbucks coffee products sold at third-party retailers display the same

phrase, “Committed to 100% Ethical Coffee Sourcing”:




       45.     The same phrase, “Committed to 100% Ethical Coffee Sourcing,” is also on the

front of every bag of coffee beans Starbucks sells via its website:




                                                 -11-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 13 of 41



        46.     Starbucks features the same phrase, “Committed to 100% Ethical Coffee

Sourcing,” on the front of every box of K-Cup coffee pods that it sells on its website and via

third-party retailers:




        47.     With respect to tea, Starbucks represents on its website that it is committed to

achieving the goal of “100% ethically sourced tea by 2020.”

        48.     Starbucks makes further representations about the ways that it is “committed to

ethically sourced tea” in descriptions of its Teavana branded tea products on the websites of

third-party retailers like Pavilion’s, Tom Thumb, Amazon, Jewel-Osco, Randall’s, and Star

Market. In these descriptions it proclaims that it “support[s] tea-growing communities and

responsible farming practices around the globe” and that it has worked over ten years “to ensure
our tea products are produced . . . under safe, transparent and humane working conditions.”




                                                 -12-
       Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 14 of 41



       49.     Starbucks also represents on various social media websites that it has an ethical

supply chain, including stating that it has “no business relationships with suppliers that use

forced labor” and that C.A.F.E. practices “ensure[s] that [Starbucks] is ethically sourcing [its]

coffee” (emphasis added):




       50.     In short, Starbucks holds itself out as a company that takes responsibility for its

supply chain as part of its commitment to global human rights, and it represents that its ethical

sourcing programs deliver on these human rights commitments and in fact empower

communities within its supply chains.




                                                 -13-
           Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 15 of 41



    III.         Starbucks’ Ethical Sourcing Representations Are Misleading Because Starbucks
                 in Fact Sources Coffee and Tea from Cooperatives and Farms that Engage in
                 Labor Exploitation and Gender-Based Violence.
           51.      Reasonable consumers would not expect a company that is “committed to 100%

ethical sourcing” in its coffee and tea to have multiple instances of forced or child labor and

workplaces with rampant gender-based violence in its coffee and tea supply chains.

           52.      Starbucks’ repeated representations to consumers that it is committed to 100%

ethical sourcing are thus misleading because in reality Starbucks both certifies as Starbucks-

approved sources and actually sources coffee beans from farms and cooperatives that engage in

forced and child labor and other egregious labor and human rights violations. Starbucks’

representations are also misleading because Starbucks sources tea leaves from tea farms that

engage in labor violations and extreme forms of sexual harassment and gender-based violence.

           53.      Just last year, the Brazilian labor prosecutor, an independent public enforcer of

the state’s labor laws, issued a complaint against the largest supplier of Starbucks in Brazil, the

C.A.F.E. Practices-certified Cooxupé cooperative, which includes over 2000 farms and accounts

for 40% of Starbucks’ Brazilian coffee supply. The labor prosecutor’s complaint cites abusive

and unsafe working conditions analogous to slavery, including physical and psychological

violence and confinement. As part of the investigation related to this complaint, the Brazilian

government has cited several Cooxupé farms for requiring workers to carry coffee sacks of over

100 pounds on their backs and work excessive hours. And a related investigation focused on tips

that the cooperative illegally trafficked more than thirty migrant workers from the state of Bahia

in northeastern Brazil to supply forced labor and construct a silo for the cooperative. The

president of Cooxupé, Carlos Augusto Rodrigues de Melo, has separately been cited, as recently

as July 2021, for his family farm’s callous theft of 30% of its workers’ wages. Nevertheless,

Starbucks continues to source from Cooxupé, and the cooperative remains C.A.F.E. Practices

certified.

           54.      Further, in May of this year, investigative journalists reported that workers at

Piedade Farm, a C.A.F.E. Practices-certified Starbucks coffee supplier, had similarly been

                                                      -14-
       Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 16 of 41



subject to extreme wage theft. In the previous harvest, workers at Piedade had been forced to pay

more than a third of their wages from harvesting back to the farm, ostensibly to cover the cost of

the machinery necessary to harvest coffee beans. This was a blatant violation of Brazilian law,

which requires agricultural employers to provide all equipment necessary for harvest, in good

condition and free of charge to their employees.17

       55.     Similarly, in the case of tea, in February 2023, undercover BBC reporters exposed

rampant gender-based violence and sexual harassment at the James Finlay & Co. tea plantation

in Kenya, which supplied to Starbucks at the time. Women working on the plantation reported

being forced by their supervisors into having sex in exchange for work. As one female worker

explained, “It is just torture; he wants to sleep with you, then you get a job.”18 Consistent with
these worker reports, a recruiter for the company who had worked on its plantations for over 30

years was caught on video pressuring an undercover reporter during a job interview for sex in

exchange for work. The video shows him pinning the undercover reporter against a window and

asking her to touch him and undress: “I have helped you, help me. … We’ll lie down, finish and

go. Then you come and work.”19 Workers reported that the mechanisms for reporting abuses at

the plantation did not work, and they did not know about any reporting channels available

through the plantation’s buyers, such as Starbucks.

       56.     A group of 2500 to 3000 workers at this same Finlay tea plantation has also filed

a class action against Finlay in Scotland (where Finlay is based) alleging that the grueling labor
conditions to which they were subjected on the plantation, including years of pulling a heavy tea-

plucking machine weighing over 26 pounds without adequate healthcare or other resources to

address the bodily stress of the work, caused them to suffer debilitating musculoskeletal




17
   Poliana Dallabrida, Starbucks Supplier Farm Ignores Law and Fails to Provide Coffee Harvesting
Machine, Workers Say, REPÓRTER BRASIL (May 15, 2023),
https://reporterbrasil.org.br/2023/05/starbucks-supplier-farm-ignores-law-and-fails-to-provide-coffee-
harvesting-machine-workers-say/.
18
   Africa Eye and Panorama Teams, True Cost of our Tea: Sexual Abuse on Kenyan Tea Farms Revealed,
BBC (Feb. 20, 2023), https://www.bbc.com/news/uk-64662056.
19
   Id.
                                                  -15-
       Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 17 of 41



injuries.20 These workers have reported that plantation management would simply fire employees

who became chronically injured due to the harsh conditions and that the company deprives

workers of adequate healthcare, allowing them to seek healthcare only from company clinics on

the estate that merely provide workers painkillers and tell them to go back to work, and

terminating employees when they have sought healthcare from other providers.

       57.      In January 2022, Scotland’s Herald reported that tea pickers at this plantation

were paid the equivalent of only 25 British pounds (approximately $30 U.S.) a week for their

arduous work, which they performed up to twelve hours a day, six days a week.

             a. Labor Exploitation and Gender-Based Violence Are Not Ethical Sourcing
                Practices, Even If the Farm Has Been Certified as “Ethical.”
       58.      There can be no dispute that sourcing from farms employing slave-like labor

conditions and sexual abuse is antithetical to a “commit[ment] to 100% ethical” sourcing. The

practices uncovered at Starbucks-supplying and Starbucks-certified farms violate multiple

international human rights norms and standards, including but not limited to the UN Guiding

principles on Business and Human Rights, UN Global Compact, OECD Guidelines for

Multinational Enterprises, International Bill of Rights, ILO Core Labor Standards, Women’s

Empowerment Principles, Children’s Rights and Business Principles, and Framework Principles

on Human Rights and the Environment.

       59.      Even if Starbucks purchases 100% of its coffee products from C.A.F.E. Practices-

certified coffee farms and 100% of its tea products from tea farms certified by the Rainforest

Alliance, this does not render its representations that it is committed to 100% ethical sourcing

truthful or non-misleading to consumers. Both C.A.F.E. Practices and Rainforest Alliance have

long and well documented histories of providing their stamp of approval to farms engaged in

egregious labor and human rights violations, and multiple third-party experts and investigators

have levied critiques of these programs’ inadequate auditing and verification systems, which



20
  The suit was first filed in 2018. See Dominic Kirui, In a Landmark Case, Kenyan Tea Workers
Continue to Fight for Damages from a Scottish Tea Giant over Musculoskeletal Injuries, EQUAL TIMES
(Apr. 28, 2023), https://www.equaltimes.org/in-a-landmark-case-kenyan-tea?lang=en.
                                                 -16-
       Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 18 of 41



have failed to detect or correct such violations, and deficient standards, which do not impose the

requirements necessary to deliver on the human rights principles Starbucks purports to respect.

       60.     Indeed, the labor abuses and gender-based violence described in paragraphs 53-57

supra, occurred at coffee and tea suppliers certified by C.A.F.E. Practices and/or Rainforest

Alliance.

       61.     Contrary to Starbucks’ misrepresentations, a rubber-stamp “certification” from

these programs does not establish that Starbucks’ coffee and tea are in fact ethically sourced or in

conformance with the international human rights norms and standards that Starbucks purports to

respect.

       62.     Given the longstanding and well documented failings of Starbucks’ so-called

“ethical” coffee and tea sourcing, Starbucks knows or should know that its advertised

“commitment to 100% ethical” coffee and tea sourcing is inaccurate and misleading.

       Labor Abuses Detected at C.A.F.E. Practices-Certified Coffee Farms
       63.     For nearly ten years, investigations by government officials and journalists in

major coffee growing regions have uncovered numerous labor and human rights violations on

coffee farms that have been certified by Starbucks’ own monitoring program.

       64.     In Brazil, the world’s largest coffee producer and exporter,21 pervasive labor

irregularities and abuses, including forced and child labor, have repeatedly been discovered on

coffee farms certified by Starbucks’ C.A.F.E. Practices program.
       65.     For example, in summer 2015, Brazilian labor inspectors cited at least two

C.A.F.E. Practices-certified farms for labor violations, including unsafe working conditions due

to improper storage and use of pesticides near workers’ eating areas and residences and failure to

provide legally required benefits. These farms had been “verified” by C.A.F.E. Practices and

their certification renewed earlier that same year the violations were uncovered.

       66.     In summer 2018, Brazilian labor inspectors rescued approximately 24 workers

from slavery-like conditions at two different C.A.F.E. Practices-certified farms known as
21
  Poliana Dallabrida, André Campos & Elaine Almeida, Certified Coffee, Rightless Workers 2, MONITOR
(Marcel Gomes ed., Repórter Brasil June 2021), https://reporterbrasil.org.br/wp-
content/uploads/2021/06/Monitor-Caf%C3%A9-2021-EN-final.pdf, at 4.
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         Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 19 of 41



“Fartura” and “Cedro II,” from which, on information and belief, Starbucks was sourcing coffee

beans.

         67.   The workers rescued in the raid at Fartura had reportedly been housed in group

lodging with hazardous sanitation and no drinking water. Along with numerous instances of

blatant wage theft, the workers also reported frequently finding dead bats in the coverless water

tanks they were forced to use for cooking and drinking. Fartura had been C.A.F.E. Practices-

certified since 2016.

         68.   At Cedro II, the rescued workers, who included a seventeen-year-old, also

suffered substandard, unsanitary housing, and some were forced to work 17-hour shifts, from

6am to 11pm. Following the 2018 raid, Starbucks did not revoke Cedro II’s C.A.F.E. Practices

certification but instead allowed it to maintain its status as C.A.F.E. Practices-certified. It was

only after the Brazilian government in April 2019 placed Cedro II on its “Dirty List,” which

identifies employers violating the country’s law against “modern slavery,” that Starbucks finally

announced it would stop sourcing from the farm.

         69.   In August 2022, seventeen workers were rescued from slavery-like conditions at

the Mesas Farm, a coffee plantation that had been awarded a C.A.F.E. Practices certification just

one month prior. The workers rescued included a fifteen-year-old, a sixteen-year-old, and a

seventeen-year-old, who were engaged in outdoor work, unprotected from the elements, that

involved manipulating heavy loads, such as coffee sacks weighing over 130 pounds. Such blatant

human rights affronts, plainly violating the norms set forth in, among other things, the Children’s

Rights and Business Principles that Starbucks professes to respect, occurred alongside numerous

other labor violations. For example, the Mesas Farm did not provide legally required personal

protective equipment to the workers, nor did it memorialize their work agreement in a formal

contract as required by Brazilian law. Nevertheless, during the period this worker exploitation

was observed by investigators, Starbucks maintained the Mesas Farm “in active status” within




                                                  -18-
         Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 20 of 41



the C.A.F.E. Practices program. On information and belief, Starbucks has not revoked that

status.22

         70.   In 2022, C.A.F.E. Practices-certified Bernardes Estate Coffee, comprising over

439 acres of coffee plantations, was charged with sixteen labor violations by the Brazilian labor

department for various offenses, including failure to keep records of employee wages, provide

legally required trainings regarding health and safety procedures, and store pesticides safely.

These citations followed nine that were issued in 2019 for failing to provide workers free of

charge with first-aid material, toilet paper, or adequate showers, dining space, and drinking

water. Investigation of the coffee producer this year confirmed that the same problems cited in

previous years persist, and workers reported that they were improperly made to pay for

transportation to and lodging at the worksite. Yet, on information and belief, Bernardes Estate

continues to bear C.A.F.E. Practices certification.23
         71.   Starbucks’ failure to promptly revoke the C.A.F.E. Practices certification for each

of the farms described in paragraphs 67-70, supra, and suspend them from its ethical sourcing

program directly contradicts its misrepresentation to consumers about C.A.F.E. Practices’ “zero

tolerance” procedures for noncompliance with minimum wage law or the use of forced or child

labor.

         72.   These instances of worker abuse and exploitation in Brazil were uncovered during

a period of steady reductions in the Brazilian government’s labor enforcement budget and
enforcement capacity.24 Other examples of worker exploitation on C.A.F.E. Practices-certified

coffee farms almost certainly occurred but went undetected.

         73.   The inadequacies of Starbucks’ coffee certification program have been observed

outside Brazil as well. For example, a 2020 report from the United Kingdom’s Channel 4


22
   See Hélen Freitas & Poliana Dallabrida, Behind Starbucks Coffee: Brazil’s Seasonal Harvest Labourers
Report Routine of Low Wages, Cold Food and Even Slave Labour on Farms that Supply the World’s Most
Famous Coffee Shop Chain, REPÓRTER BRASIL (Naira Hofmeister ed., Oct. 2023),
https://reporterbrasil.org.br/wp-
content/uploads/2023/11/monitor_starbucks_coffee_slave_labor_ENG.pdf, at 11-12.
23
   See id. at 14-15.
24
   See Dallabrida, Campos & Almeida, supra note 21, at 13.
                                                  -19-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 21 of 41



Dispatches program documented children under thirteen working 40- to 50-hour weeks on five

different C.A.F.E. Practices certified coffee farms in Guatemala, where coffee is the second-most

important agricultural export after sugar. The Guatemalan farms identified in the Dispatches

exposé had been “verified” by Starbucks’ C.A.F.E. Practices program in 2019, the same year that

the Dispatches investigators uncovered and filmed the widespread child labor.

        74.     The large number of labor violations detected at C.A.F.E. Practices-certified

farms is unsurprising given the C.A.F.E. Practices’ certification and verification program’s

inherent design flaws.

        75.     For one, Starbucks’ C.A.F.E. Practices program allows inspections to occur as

infrequently as every two or three years, but even annual inspections are recognized as

inadequate to ensure that workers on plantations and large farms are protected.25
        76.     Additionally, C.A.F.E. Practices verification or re-verification audits, even those

categorized as “unannounced” because they are selected by semi-random sampling, are

communicated to coffee producers 24-48 hours in advance, allowing coffee farm employers to

hide evidence of labor violations during the audit, which lasts only half a day per farm.26

        77.     Indeed, because the C.A.F.E. Practices audit/verification process occurs only on

the inspected farm and does not involve off-site interviews with workers, their regional union, or

the Brazilian labor department, C.A.F.E. Practices inspectors do not access the information

sources most likely to provide relevant information about workplace practices.27
        78.     Moreover, C.A.F.E. Practices inspections are carried out by a third-party verifier

that is paid for its services by the inspected farm; this creates an inherent conflict of interest that

incentivizes satisfactory verification reports even when a coffee grower is not meeting C.A.F.E.

Practices standards.



25
   Kerstin Lindgren, Justice in the Fields: A Report on the Role of Farmworker Justice Certification and
an Evaluation of the Effectiveness of Seven Labels, FAIR WORLD PROJECT,
https://fairworldproject.org/wp-content/uploads/2016/10/Justice-In-The-Fields-Report.pdf (last visited
Nov. 29, 2023), at 16.
26
   See Freitas & Dallabrida, supra note 22, at 8, 17.
27
   See id.
                                                    -20-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 22 of 41



        79.     C.A.F.E. Practices only requires that certified suppliers pay workers at least the

minimum wage legally required in the supplier’s country. In most instances, including in Brazil,

such a standard does not even ensure a living wage. Thus, contrary to the recommendation of the

UN Global Compact—the principles of which Starbucks promises to respect in its Global

Human Rights Statement—Starbucks’ C.A.F.E. Practices do not promote or provide a living

wage.28

        80.     Finally, Starbucks does not make publicly available a list of the coffee suppliers

that bear the C.A.F.E. Practices certification or information about when, if ever, it has purchased

from them.29 Nor does Starbucks publish the results of C.A.F.E. Practices verification

inspections. Without such transparency, Starbucks avoids real accountability for human rights

violations in its supply chain.

        81.     These and many other deficiencies in Starbucks’ C.A.F.E. Practices coffee

sourcing program make it an unreliable and misleading indicator of whether coffee beans are

ethically sourced. Indeed, several C.A.F.E. Practices-certified farms have been cited for labor

violations even in the same year they were “verified” as adhering to C.A.F.E. Practices ethical

standards, illustrating the ineffectiveness and unreliability of the C.A.F.E. Practices certification

process.

        82.     Starbucks’ reliance on the wholly inadequate C.A.F.E. Practices program is

particularly egregious given the prevalence of child labor in the coffee regions from which it

sources. According to the U.S. Department of Labor’s Bureau of International Labor Affairs,

child labor is present in the coffee industry in fourteen of the countries from which Starbucks

sources.30 In light of this publicly documented reality, Starbucks’ failure to implement an

effective and reliable ethical sourcing program represents an even more glaring abdication of the

duties to prevent forced and child labor that it purports to respect.


28
   See Dallabrida, Campos & Almeida, supra note 21, at 16, 27; Lindgren, supra note 25, at 9.
29
   See Freitas & Dallabrida, supra note 22, at 7 (no public list of C.A.F.E. Practices-certified farms).
30
   See List of Goods Produced by Child Labor or Forced Labor, USDOL, U.S. BUREAU OF
INTERNATIONAL LABOR AFFAIRS (Sept. 28, 2022), https://www.dol.gov/agencies/ilab/reports/child-
labor/list-of-goods.
                                                      -21-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 23 of 41



        Labor Abuses Detected at Rainforest Alliance-Certified Tea Farms

        83.      Like C.A.F.E. Practices certification, Rainforest Alliance certification is not a

reliable indicator that products have been ethically sourced. Rather, Rainforest Alliance

certification is consistently borne by tea suppliers that commit serious labor abuses.

        84.      Grave deficiencies in Rainforest Alliance certification’s ability to ensure the

ethical sourcing of tea products have also been consistently documented for over ten years.

        85.      As early as 2011, the Dutch public benefit organization and research institute

Centre for Research on Multinational Corporations (“SOMO”) reported on endemic labor

violations at several Kenyan and Indian tea plantations certified by Rainforest Alliance.31

        86.      In 2015, a joint investigation of working conditions at Rainforest Alliance-

certified tea plantations in Assam, India by Radio 4’s File and BBC News revealed that workers

there experienced “dangerous and degrading living and working conditions” despite their

workplaces’ Rainforest Alliance certifications.32
        87.      The Rainforest Alliance certification program suffers serious design and

methodological flaws that fatally undermine its ability to ensure its certified tea products are

ethically sourced.

        88.      First, by its own design, Rainforest Alliance does not hold tea suppliers

accountable to its standards. Its “assess-and-address” framework, adopted in 2021, permits farms

committing human rights abuses such as the use of child labor, forced labor, discrimination, and
workplace violence and harassment to maintain certification.33

        89.      Second, Rainforest Alliance audits do not require the presence of a worker

representative during audit interviews, which compromises the auditor’s ability to uncover labor

rights abuses.


31
   See Sanne van der Wal, Certified Unilever Tea: Small Cup, Big Difference?, SOMO (Oct. 1, 2011),
https://www.somo.nl/certified-unilever-tea/. SOMO is an acronym for a Dutch phrase that translates into
English as “Centre for Research on Multinational Corporations.” See id.
32
   Justin Rowlatt & Jane Deith, The Bitter Story Behind the UK’s National Drink, BBC (Sept. 8, 2015),
https://www.bbc.com/news/world-asia-india-34173532.
33
   What’s in our 2020 Certification Program? Assess-and-Address, RAINFOREST ALLIANCE (June 2020),
https://www.rainforest-alliance.org/wp-content/uploads/2020/06/2020-program-assess-address.pdf.
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          Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 24 of 41



          90.      These, along with other program design flaws, prevent the Rainforest Alliance

certification program from serving as a reliable indicator of ethical sourcing.

          91.      A reasonable consumer would not expect a company professing to be “committed

to 100% ethical sourcing,” to rely on certification programs that are wildly unreliable and

woefully inadequate to safeguard against the presence of child and forced labor and other human

rights violations, as Starbucks does with respect to C.A.F.E. Practices and its coffee supply chain

and Rainforest Alliance and its tea supply chain.

          92.      Starbucks’ representations that it is “committed to 100% ethical sourcing” and

that its coffee and tea are ethically sourced because they are sourced from C.A.F.E. Practices or

Rainforest Alliance certified farms are thus deceptive and misleading to reasonable consumers.

                b. Despite Repeated Calls to Improve its Sourcing Practices, Starbucks Has Not
                   Taken Meaningful Action.
          93.      Coffee industry observers have been calling on Starbucks to live up to its ethical

sourcing claims for nearly a decade, yet Starbucks has not responded with any meaningful

action.

          94.      In 2016, Repórter Brasil, a non-governmental organization that produces

investigative journalism regarding labor issues in Brazil, published the report “Certified Coffee,

Rightless Workers,”34 which detailed the widespread failure of coffee certification systems,

including Starbucks’ C.A.F.E. Practices, to protect Brazilian coffee workers. The report urged

Starbucks and others to make changes to their certification programs, including implementation

of more worker protective standards and more effective monitoring and enforcement, that would

help those programs better protect workers.

          95.      Similarly, the investigators who uncovered child labor on Guatemalan C.A.F.E.

Practices-certified farms called on Starbucks and other large coffee buyers and certifiers to

implement more robust worker pay requirements as part of their ethical sourcing standards.35

34
   See André Campos, Certified Coffee, Rightless Workers, MONITOR (Marcel Gomes ed., Repórter Brasil
Dec. 2016), https://reporterbrasil.org.br/wp-content/uploads/2016/12/Cafe%CC%81_ING_Web.pdf.
35
   See Jamie Doward, Children as Young as Eight Picked Coffee Beans on Farms Supplying Starbucks,
THE GUARDIAN (Mar. 1, 2020), https://www.theguardian.com/business/2020/mar/01/children-work-for-
pittance-to-pick-coffee-beans-used-by-starbucks-and-nespresso.
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         Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 25 of 41



         96.    However, Starbucks has not taken meaningful action to address the gross

deficiencies in the C.A.F.E. Practices certification program identified in these reports. As

described in paragraphs 53-57 supra, egregious labor violations at C.A.F.E. Practices certified

farms have continued.

         97.    Moreover, Starbucks has repeatedly failed to live up to its own promises

regarding C.A.F.E. Practices “zero tolerance” for forced or child labor or wage theft in its supply

chain.

         98.    Consequently, five years after first urging Starbucks and other certifiers to address

their failure to protect workers in the Brazilian coffee industry, Repórter Brasil, in “Certified

Coffee, Rightless Workers 2”36 (a follow-up to its 2016 coffee report), bemoans “a big difference
between what certification promises . . . and what it actually delivers” and concludes that

“[u]nder no circumstances” should certification be “accepted as definitive proof of good

practices.”37

         99.    As recently as this October, Repórter Brasil published another report

documenting a continued pattern of labor violations, including forced and child labor and severe

wage theft, carried out by Brazilian coffee farms bearing Starbucks’ proprietary C.A.F.E.

Practices certification.38

         100.   Nonetheless, Starbucks continues to point to C.A.F.E. Practices as a guarantee of

its ethical coffee sourcing and to represent that “C.A.F.E. Practices verification . . . ensures
coffee farmers, their families, and communities are cared for and supported.”39 Starbucks

misleadingly fails to disclose facts material to consumer purchasing decisions, including that

many of its supposedly ethical suppliers have in fact relied on forced and/or child labor, i.e. that

C.A.F.E. Practices certification does not guarantee the absence of forced and child labor.




36
   See Dallabrida, Campos & Almeida, supra note 21.
37
   Id. at 26 (emphasis added).
38
   See Freitas & Dallabrida, supra note 22.
39
   Kelly Goodejohn, Betting the Farm on the Farm, STARBUCKS STORIES & NEWS (Sept. 28, 2017),
https://stories.starbucks.com/stories/2017/betting-the-farm-on-the-farm/.
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        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 26 of 41



        101.    Similarly, even while outside investigators have reported on the systemic

problems with Rainforest Alliance’s certification program, Starbucks has increasingly relied

upon it as its primary, if not sole, “ethical” sourcing tool for its tea products.

        102.    In 2011, SOMO’s thoroughgoing study of Kenyan and Indian tea plantations

certified by Rainforest Alliance concluded that Rainforest Alliance “does not seem capable of

delivering any real guarantees on decent working conditions.”40

        103.    More recently, the Business and Human Rights Resource Centre’s comprehensive

review of human rights abuses in the global tea industry called out Starbucks for, among other

things, its “over-reliance on [Rainforest Alliance] certification as a guarantee of the protection of

rights.” As Human Rights Resource Centre noted, “certification of a supplier alone is not enough

to ensure” that human rights standards are in fact “implemented and respected.”41 That is,
ensuring practical implementation of such standards throughout a supply chain requires greater

engagement from buyers such as Starbucks than simply signing on to a certification program.

        104.    Starbucks nevertheless continues to rely on Rainforest Alliance certification for

its representations that its tea has been ethically sourced. Starbucks also misleadingly fails to

disclose facts material to its tea consumers, including that Rainforest Alliance certification is

frequently borne by human rights abusing employers, including tea farms that have sourced to

Starbucks.

        105.    Despite knowledge of the rampant labor abuses occurring on farms certified by
C.A.F.E. Practices and Rainforest Alliance, Starbucks has continued to rely on certification by

these programs as the basis for its false and misleading claims that its coffee and tea are ethically

sourced.

        106.    Starbucks’ failure to adopt meaningful reforms to its coffee and tea sourcing

practices in the face of these critiques and documented labor abuses on its source farms is wholly

inconsistent with a reasonable consumer’s understanding of what it means to be “committed to

40
  Sanne van der Wal, supra note 31, at 5.
41
  Kate Jelly, Boiling Point: Strengthening Corporate Accountability in the Tea Industry (Business &
Human Rights Resource Centre May 2023), https://media.business-
humanrights.org/media/documents/2023_tea_report_2205.pdf, at 21.
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           Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 27 of 41



100% ethical” sourcing. Similarly, Starbucks’ failure to disclose to consumers the unreliability of

these certification programs and their limitations as a guarantee of ethical sourcing are

misleading omissions material to the decision-making of a reasonable consumer. To bring its

conduct in line with its ethical sourcing promises, Starbucks must actually reform its coffee and

tea sourcing policies and practices so that they are truly protective of the human rights of farm

workers that Starbucks purports to respect.

     IV.      Consumers Have Been Injured by Starbucks’ Ethical Sourcing
              Misrepresentations and Material Omissions.
           107.   Because consumers will pay more for products that are ethically sourced,

Starbucks’ false and misleading representations that it is “committed to 100% ethical coffee

sourcing” and that the Rainforest Alliance-certified tea it purchases is ethically sourced are

material misrepresentations that allow it to artificially inflate its prices and unjustly swell its

annual profits, which exceed $21 billion.

           108.   Starbucks omits from its advertising and product labeling any disclosure of the

defects in its ethical sourcing programs or of the prevalence of unethical worker treatment among

its certified suppliers. These omissions are material to consumer purchasing decisions and

misleading.

           109.   Starbucks’ products, including its coffee and tea, cost more than similar products

without misleading labeling or material omissions, and would have commanded lower prices in

the market absent Starbucks’ misleading ethical sourcing claims and material omissions.

Starbucks thus collects an undeserved ethical sourcing or “fairwashing”42 price premium on its

coffee and tea products even though they are not in fact ethically sourced.

           110.   Many consumers would not purchase Starbucks’ coffee or tea—and would

purchase from rival producers—if they believed Starbucks was not ethically sourcing its coffee

or tea.



42
  See Fairwashing—What it Is and How to Spot it, THE ETHICAL EDIT (Apr. 7, 2022),
https://theethicaledit.ca/blog/fairwashing-what-it-is-and-how-to-spot-it/ (describing “fairwashing” as
when a company’s advertising creates a false impression that it is committed to fair trade principles).
                                                     -26-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 28 of 41



        111.    Starbucks’ false and misleading advertising has caused and continues to cause

consumers injury in the form of economic loss because it induces them to buy products they

otherwise would not purchase. It also causes them injury or economic loss by inducing them to

pay more for Starbucks’ coffee and tea products than they would absent Starbucks’

misrepresentations and material omissions.

                                      CAUSE OF ACTION
         Violations of the District of Columbia Consumer Protection Procedures Act
                                   D.C. Code § 28-3901 et seq.
        112.    Plaintiff realleges and incorporates each of the allegations contained in the

preceding paragraphs as if fully set forth herein.
        113.    Plaintiff is a non-profit, public-interest organization operating for the purpose of

promoting the interests of consumers and brings these claims on behalf of itself and its members,

the general public, and District consumers. See D.C. Code § 28-3905(k)(1).

        114.    Starbucks has advertised and marketed its coffee and tea products with phrases

such as “Committed to 100% Ethical Coffee Sourcing” and a “global commitment to

fundamental human rights,” when, as described above, Starbucks sells coffee and tea products

harvested by laborers who are subjected to inhumane conditions that do not meet the standards to

which Starbucks purports to commit. Starbucks represents that its coffee and tea sourcing

programs and practices are designed to and actually help it comply with various human rights

obligations, including those set forth in the UN Guiding principles on Business and Human

Rights, UN Global Compact, OECD Guidelines for Multinational Enterprises, International Bill

of Rights, ILO Core Labor Standards, Women’s Empowerment Principles, Children’s Rights and

Business Principles, and Framework Principles on Human Rights, but its coffee and tea sourcing

programs and practices in actuality do not fulfill these obligations. Thus, Starbucks has violated

the CPPA by “represent[ing] that goods . . . have a source . . . [or] characteristics . . . that they do

not have”; “represent[ing] that goods . . . are of particular standard, quality, grade, style, or

model, if in fact they are of another”; “misrepresent[ing] as to a material fact which has a

tendency to mislead”; “represent[ing] that a transaction confers or involves rights, remedies, or


                                                   -27-
        Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 29 of 41



obligations which it does not have or involve”; “fail[ing] to state a material fact if such failure

tends to mislead”; “us[ing] innuendo or ambiguity as to a material fact, which has a tendency to

mislead”; and “advertis[ing] . . . goods . . . without the intent to sell them as advertised.” See id. §

28-3904(a), (d), (e), (e-1), (f), (f-1), (h).

        115.    Starbucks’ deceptive misrepresentations and omissions alleged herein are material

to, at minimum, a significant minority of consumers.

        116.    Starbucks’ violations of the CPPA have repeatedly occurred in its trade or

business. The acts complained of herein are ongoing and/or have a substantial likelihood of

being repeated.

        117.    Starbucks’ violations of the CPPA affect the public interest and have injured

countless consumers.

        118.    Starbucks’ conduct, as complained of herein, is immoral, unethical, oppressive,

contrary to public policy, and/or unscrupulous, and has caused substantial injury to Plaintiff, the

general public, and countless consumers.

        119.    Starbucks’ violations of the CPPA are outrageous and egregious and carried out in

willful disregard for the rights of consumers to accurate and non-misleading information from

merchants about the goods and services they sell.

        120.    Plaintiff is therefore entitled to legal and equitable relief against Starbucks,

including recovery of actual damages, statutory damages and/or treble damages, punitive

damages, attorneys’ fees, costs of suit, and an injunction enjoining Starbucks from continuing to

engage in the deceptive misrepresentations and material omissions alleged herein.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment as follows:

        1. A declaration that Starbucks’ conduct as alleged herein constitutes an unfair and/or

            deceptive trade practice in violation of the District of Columbia Consumer Protection

            Procedures Act, D.C. Code §§ 28-3901 et seq.;

        2. A public injunction enjoining Starbucks’ violations of the District of Columbia

            Consumer Protection Procedures Act and requiring Starbucks to halt its “Committed
                                                   -28-
      Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 30 of 41



          to 100% Ethical Coffee Sourcing” advertising unless and until it lives up to its ethical

          sourcing promises to consumers and reforms its policies and practices to protect the

          human rights of farm workers who provide Starbucks’ coffee and tea products;

      3. An order that Starbucks engage in a corrective advertising campaign;

      4. An award of actual damages, according to proof, and treble damages and/or statutory

          damages, whichever is greater;

      5. An award of punitive damages;

      6. An award of reasonable attorneys’ fees and reasonable costs and expenses of suit;

      7. An award of pre- and post-judgment interest as allowed by law;

      8. Any further relief that the Court may deem just and appropriate.

                                 JURY TRIAL DEMANDED

      Plaintiff demands a trial by jury on all issues so triable.



DATED this 10th day of January, 2024.

                                              Respectfully submitted,

                                              By: /s/ Daniel M. Rosenthal
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                                                 -29-
Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 31 of 41



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                               -30-
              Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 32 of 41


         Superior Court of the District of Columbia
                                                CIVIL DIVISION CIVIL ACTIONS BRANCH
                                                                      -




                                                                INFORMATION SHEET
      National Consumers League                                             Case Number:          2024-CAB-000 1 96
                               Plaintiff(s)
                                   VS                                       Date: January 10, 2024

      Starbucks Corporation                                                      One of the defendants is being sued
                              Defendant(s)                                       in their official capacity.

     Name: (Please Print)                                                                     Relationship to Lawsuit
    Daniel M. Rosenthal
     Firm Name:                                                                                         Attorney for Plaintiff
    dames & Hoffman, P.C.
                                        DC Bar No.:
                                                                                                   [] Self (Pro Se)
     Telephone No.:
    (202) 496-0500                      1010473                                                    O Other:
     TYPE OF CASE:            []Non-Jury                  CL] 6 Person Jury                             12 Person Jury
     Demand: $ TBD in an amount to exceed $10,000                                     Other: declaratory and injunctive relief

     PENDING CASE(S) RELATED TO THE ACTION BEING FILED
     Case No.:                                           Judge:                                  Calendar #:

     Case No.:                                           Judge:                                  Calendar #:


NATURE OF SUIT:               (Check One Box Only)
CONTRACT                                      COLLECTION/INS. SUB                                       EMPLOYMENT DISPUTE
   Breach of Contract                         Debt Collection                                            Breach of Contract

   Breach of Warranty                         Insurance Subrogation                                      Discrimination

   Condo/Homeowner Assn. Fees                 Motion/Application for Judgment by Confession              Wage Claim
   Contract Enforcement                       Motion/Application Regarding Arbitration Award             Whistle Blower

   Negotiable Instrument                                                                                 Wrongful Termination


REAL PROPERTY                                                                                              [] FRIENDLY SUIT
  Condo/Homeowner Assn. Foreclosure                  Ejectment                  Other
                                                                                                           [] HOUSING CODE REGULATIONS
  Declaratory Judgment                               Eminent Domain             Quiet Title
                                                                                                           [] QUI TAM
  Drug Related Nuisance Abatement                    Interpleader                Specific Performance      [] STRUCTURED SETTLEMENTS
ADMINISTRATIVE PROCEEDINGS                                                                                   AGENCY APPEAL
  Administrative Search Warrant                                           Release Mechanics Lien                   Dangerous Animal Determination

  App. for Entry of Jgt. Defaulted Compensation Benefits                  Request for Subpoena                     DCPS Residency Appeal
  Enter Administrative Order as Judgment                            MALPRACTICE                                    Merit Personnel Act (OEA)
  Libel of Information                                                Medical     -

                                                                                      Other                        Merit Personnel Act (OHR)
  Master Meter                                                                                                     Other Agency Appeal
                                                                      Wrongful Death
  Petition Other
                                                                O APPLICATION FOR INTERNATIONAL FOREIGN JJUDGMENT


     CV-496/February 2023
               Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 33 of 41

                              Information Sheet, Continued

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             __________________________________                                ______________________________
                    )LOHUAttorney’s Signature                                                      Date




    CV-496/)HEUXDU\ 
                  Case 1:24-cv-00421-RBW     Document
                                  Superior Court         1-2 Filed
                                                 of the District      02/12/24 Page 34 of 41
                                                                 of Columbia
                                              CIVIL DIVISION
                                                             Civil Actions Branch
                                   500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                        Telephone: (202) 879-1133 Website: www.dccourts.gov

       National Consumers League
                                                                   Plaintiff
                                      vs.
                                                                                                     Case Number           2024-CAB-000196
       Starbucks Corporation
                                                                  Defendant

                                                                  SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

             You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint.

 Daniel M. Rosenthal                                                                          Clerk of HVEOW;
 Name of Plaintiff's Attorney

 James & Hoffman, P.C.
                                                                                                                           :




                                                                               By
 Address                                                                                                 ZA N

 1629 K Street, NW, Suite 1050 Washington, DC 20006                                                                    :



  (202) 496-0500                                                               Date                       January 11,2024
 Telephone
 QO   = Bik BITRE (202) 879-4828            Veuillez appeler au (202) 879-4828 pour une traduction     Dé c6 mét bai dich, hay goi (202) 879-4828

 HSS ASAE, (202)879-4828 BSA&                                                  (202) 879-4828    Leow


   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                    See reverse side for Spanish translation
                                                     Vea al dorso la traduccién al espafiol




CV-3110 [Rev. June 2017]                                                                                                       Super. Ct. Civ. R. 4
                      Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 35 of 41

                                       TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                   DIVISIÓN CIVIL
                                                             Sección de Acciones Civiles
                                           500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                      Washington,
                                                  Teléfono:        DC 20001
                                                            (202) 879-1133   Teléfono
                                                                           Sitio       879-1133
                                                                                 web: www.dccourts.gov




                                                                 Demandante
                                       contra
                                                                                                Número de Caso:

                                                                 Demandado

                                                                 CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestación a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiún (21) días contados después que usted haya recibido este
       citatorio, excluyendo el día mismo de la entrega del citatorio. Si usted está siendo demandado en calidad de oficial o
       agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
       sesenta (60) días, contados después que usted haya recibido este citatorio, para entregar su Contestación. Tiene que
       enviarle por correo una copia de su Contestación al abogado de la parte demandante. El nombre y dirección del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestación por correo a la dirección que aparece en este Citatorio.

               A usted también se le require presentar la Contestación original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodía
       los sábados. Usted puede presentar la Contestación original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestación o en el plazo de siete (7) días de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestación, podría dictarse un fallo en rebeldía contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
                                                                            SECRETARIO DEL TRIBUNAL
      Nombre del abogado del Demandante

                                                                             Por:
      Dirección                                                                                          Subsecretario


                                                                             Fecha
      Teléfono
      Ⱁ榏劊幠,庆㓢䟄幬 (202) 879-4828              Veuillez appeler au (202) 879-4828 pour une traduction   ĈӇFyPӝWEjLGӏFKKm\JӑL(202) 879-4828
                   ꘽꾢냹 낅뼍겑ꐩ, (202) 879-4828 ꈑ 놹쀉늱겢겑끉                     Õ0 p0õ        ùp (202) 879-4828      ÚÜ¼


        IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACIÓN EN EL PLAZO ANTES
      MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRÍA
      DICTARSE UN FALLO EN REBELDÍA CONTRA USTED PARA QUE SE LE COBRE LOS DAÑOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRÍA RETENÉRSELE SUS INGRESOS, O
      PODRÍA TOMÁRSELE SUS BIENES PERSONALES O BIENES RAÍCES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONERSE A ESTA ACCIÓN, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIGIDO.

         Si desea conversar con un abogado y le parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                      Vea al dorso el original en inglés
                                                     See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                             Super. Ct. Civ. R. 4
                 Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 36 of 41

                                 Superior Court of the District of Columbia
                                        Civil - Civil Actions Branch
                          500 Indiana Ave NW, Room 5000, Washington DC 20001
                                    (202) 879-1133 | www.dccourts.gov


Case Number: 2024-CAB-000196
Case Caption: National Consumers League v. Starbucks Corporation

                                                      INITIAL ORDER

           Initial Hearing Date:                     Initial Hearing Time:                    Courtroom Location:
             Friday, 04/12/2024                             9:30 AM                          Remote Courtroom 320

                               Please see attached instructions for remote participation.

                              Your case is assigned to Associate Judge Jonathan H Pittman.

Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure (“Super. Ct. Civ. R.”) 40-
I, it is hereby ORDERED as follows:
1) This case is assigned to the judge and calendar designated above. All future filings in this case shall bear the
    calendar number and judge’s name along with the case number in the caption.
2) Within 60 days of the filing of the complaint, plaintiff must file proof of service on each defendant of copies of the
    summons, the complaint, and this Initial Order. The court will dismiss the claims against any defendant for whom such
    proof of service has not been filed by this deadline, unless the court extended the time for service under Rule 4.
3) Within 21 days of service (unless otherwise provided in Rule 12), each defendant must respond to the complaint by
    filing an answer or other responsive pleading. The court may enter a default and a default judgment against any
    defendant who does not meet this deadline, unless the court extended the deadline under Rule 55(a).
4) At the time stated below, all counsel and unrepresented parties shall participate in a hearing to establish a schedule
    and discuss the possibilities of settlement. Counsel shall discuss with their clients before the hearing whether the
    clients are agreeable to binding or non-binding arbitration. This order is the only notice that parties and counsel will
    receive concerning this hearing.
5) If the date or time is inconvenient for any party or counsel, the Civil Actions Branch may continue the Conference
    once, with the consent of all parties, to either of the two succeeding days when the calendar is called. To reschedule
    the hearing, a party or lawyer may call the Branch at (202) 879-1133. Any such request must be made at least seven
    business days before the scheduled date. No other continuance will be granted except upon motion for good cause
    shown.
6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil cases, each
    judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders are available in
    the Courtroom and on the Court’s website http://www.dccourts.gov/.

                                                                                          Chief Judge Anita M. Josey-Herring




                                                         Page 1 of 6
               Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 37 of 41
To Join by Computer, Tablet, or Smartphone:
1) Copy and Paste or Type the link into a web browser and enter the Webex Meeting ID listed below.

   Link: dccourts.webex.com/meet/ctb320

   Meeting ID: 129 226 9879

2) When you are ready, click “Join Meeting”.
3) You will be placed in the lobby until the courtroom clerk gives you access to the hearing.


Or to Join by Phone:

1) Call 202-860-2110 (local) or 844-992-4726 (toll-free)
2) Enter the Webex Meeting ID listed above followed by “##”



Resources and Contact Information:

1) For best practices on how to participate in Webex Meetings, click here https://www.webex.com/learn/best-
   practices.html.
2) For technical issues or questions, call the Information Technology Division at 202-879-1928 and select
   option 2.
3) For case questions, call the Civil Actions Branch Clerk’s Office at (202) 879-1133.




                                                 Page 2 of 6
              Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 38 of 41


                                  ACCESSIBILITY AND LANGUAGE ACCESS


Persons with Disabilities:
If you have a disability as defined by the American Disabilities Act (ADA) and you require an accommodation,
please call 202-879-1700 or email ADACoordinator@dcsc.gov . The D.C. Courts does not provide
transportation service.


Interpreting and Translation Services:
The D.C. Courts offers free language access services to people having business with the court who are deaf
or who are non-English speakers. Parties to a case may request free translations of court orders and other
court documents. To ask for an interpreter or translation, please contact the Clerk’s Office listed for your
case. For more information, visit https://www.dccourts.gov/language-access.


Servicios de interpretación y traducción:
Los Tribunales del Distrito de Columbia ofrecen servicios gratuitos de acceso al idioma a las personas sordas
o que no hablan inglés que tienen asuntos que atender en el tribunal. Las partes de un caso pueden solicitar
traducciones gratuitas de las órdenes judiciales y otros documentos del tribunal. Para solicitar un intérprete o
una traducción, póngase en contacto con la Secretaría de su caso.
Para más información, visite https://www.dccourts.gov/language-access.
El acceso al idioma es importante para los Tribunales del Distrito de Columbia. Puede dar su opinión sobre
los servicios de idiomas visitando https://www.dccourts.gov/services/information-and-resources/interpreting-
services#language-access.


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https://www.dccourts.gov/services/information-and-resources/interpreting-services#language-access
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                                                  Page 3 of 6
                       Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 39 of 41


      Tips for Attending Remote Hearings - Civil Division
       Your court hearing may be held remotely. This means that you will participate by phone or by video
            conference instead of coming to the courthouse. Here are some tips on how to prepare.


How do I know if I have a remote hearing?                                Tips for the Hearing
The Court will contact you to tell you that your hearing is remote.         Join the hearing a few minutes early!
They may contact you by sending you an email, letter in the mail,
or by calling you.                                                          Charge your computer or phone and make sure you have
                                                                             enough minutes to join the call. Find a private and quiet
                                                                             space. If possible, be alone in a room during the hearing. Try
                                                                             to limit distractions as much as possible. If others are in the
                                                                             room with you, ask if they can be quiet during the hearing.
How do I take part in a remote hearing?
                                                                            Mute your microphone when you are not talking. Mute all
The Court will give you step-by-step instructions on how to take             sounds on your phone or computer.
part in the remote hearing.
                                                                            Say your name before you speak so the record                   is
If you lose your written notice, call the Civil Actions Clerk’s Office       clear. Be prepared to identify your role in the
for instructions at:                                                         hearing (e.g., observer, plaintiff, defendant, witness, etc.).
                                                                            Speak slowly and clearly so everyone hears what you are
                           202-879-1133
                                                                             saying.
                                                                            Pause before speaking in case there is a lag. Use a headset
Is there anything that I should do before                                    or headphones if you can. This will free up your hands and
the day of the hearing?                                                      sound better.
                                                                            Try not to talk over anyone else. Only one person can speak
   Let the court know immediately if you cannot join a hearing
                                                                             at a time. If you talk while someone else is talking, the judge
    because you do not have a phone or computer.
                                                                             will not be able to hear you.
        Civil Actions Clerk’s Office: 202-879-1133
                                                                            Have all your documents for the hearing in front of you. Have
                                                                             a pen and paper to take notes.
   You may want to contact an attorney for legal help.                     If you are not ready for your hearing or want to speak with an
   You can also find the list of legal services providers at                attorney, you can ask the judge to postpone your hearing for
    dccourts.gov/coronavirus by clicking on the link that says,              another date.
    "List of Legal Service Providers for Those Without an                   If your sound or video freezes during the hearing, use the
    Attorney."                                                               chat feature or call the Clerk's Office to let them know that
   Evidence: if you want the judge to review photos or                      you are having technical issues.
    documents, ask the judge how to submit your evidence.
   Witnesses: tell the judge if you want a witness to testify at        Special Tips for Video Hearings
    your hearing.                                                        (Click here for more information)
   Accommodations & Language Access: let the court know if                 Download the court’s hearing software, WebEx, in advance
    you need an interpreter or other accommodation for your                  and do a test run! The Court will provide you with a WebEx
    hearing.                                                                 link in advance of the hearing.
                                                                            Set up the camera at eye level. If you are using your phone,
                                                                             prop it up so you can look at it without holding it.
                                                                            Look at the camera when you speak and avoid moving
                                                                             around on the video.
                                                                            Wear what you would normally wear to court.
                                                                            Sit in a well-lit room with no bright lights behind you.
                                                                            If possible, find a blank wall to sit in front of. Remember the
                                                                             judge will be able to see everything on your screen, so pick a
                                                                             location that is not distracting.



                                                                 Page 4 of 6
                Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 40 of 41
                             District of Columbia Courts
                    Tips for Using DC Courts Remote
                                           Hearing Sites
  The DC Courts have remote hearing sites available in various locations in the community to help
  persons who may not have computer devices or internet service at home to participate in scheduled
  remote hearings. The Courts are committed to enhancing access to justice for all.

  There are six remote access sites throughout the community which will operate: Monday – Friday,
  8:30 am – 4:00 pm.
                                        The remote site locations are:
         Remote Site - 1                                                              Remote Site - 4
Balance and Restorative Justice                                              Balance and Restorative Justice
Center                                                                       Center
1215 South Capitol Street, SW                                                920 Rhode Island Avenue, NE
Washington, DC 20003                                                         Washington, DC 20018


          Remote Site - 2                                                               Remote Site - 5
Balance and Restorative Justice                                               Reeves Center
Center                                                                        2000 14th Street, NW, 2nd Floor
1110 V Street, SE                                                             Community Room
Washington, DC 20020                                                          Washington, DC 20009


          Remote Site - 3                                                                Remote Site - 6
Balance and Restorative Justice                                               Reeves Center
Center                                                                        2000 14th Street, NW, Suite 300N
118 Q Street, NE                                                              Office of the Tenant Advocate
Washington, DC 20002                                                          Washington, DC 20009
                                                                              *** No walk-ins at this location***

  If you want to use a remote site location for your hearing, call 202-879-1900 or email
  DCCourtsRemoteSites@dcsc.gov at least 24 hours before your hearing to reserve a remote access
  computer station. If you require special accommodations such as an interpreter for your hearing, please call
  202-879-1900 at least 24 hours in advance of your hearing so the Courts can make arrangements.
  *You should bring the following items when you come to your scheduled site location*
     1. Your case number and any hyperlinks provided by the Courts for your scheduled hearing.
     2. Any documents you need for the hearing (evidence), including exhibits, receipts, photos, contracts, etc.
     3. Materials for notetaking, including pen and paper.


 *Safety and security measures are in place at the remote sites.
  Contact information to schedule your remote access computer station:
  Call: 202-879-1900
  Email: DCCourtsRemoteSites@dcsc.gov




                                                   Page 5 of 6
                                Tribunales del Distrito de Columbia
                  Case 1:24-cv-00421-RBW Document 1-2 Filed 02/12/24 Page 41 of 41

                       Consejos para usar los sitios de audiencia remota de los
                                          Tribunales de DC
  Los Tribunales de DC disponen de sitios de audiencia remota en distintos centros de la comunidad para
  ayudar a que las personas que no tienen dispositivos informáticos o servicio de Internet en su casa puedan
  participar en audiencias remotas programadas. Los Tribunales honran el compromiso de mejorar el acceso de
  toda la población a la justicia.


  En toda la comunidad hay seis sitios de acceso remoto que funcionarán de lunes a viernes, de 8:30 am a 4:00
  pm.

                                               Los centros de acceso remoto son:

         Sitio Remoto - 1                                                                       Sitio Remoto - 4
Balance and Restorative Justice                                                        Balance and Restorative Justice
Center                                                                                 Center
1215 South Capitol Street, SW                                                          920 Rhode Island Avenue, NE
Washington, DC 20003                                                                   Washington, DC 20018


         Sitio Remoto - 2                                                                        Sitio Remoto - 5
Balance and Restorative Justice                                                         Reeves Center
Center                                                                                  2000 14th Street, NW, 2nd Floor
1110 V Street, SE                                                                       Community Room
Washington, DC 20020                                                                    Washington, DC 20009


         Sitio Remoto - 3                                                                         Sitio Remoto - 6
Balance and Restorative Justice                                                         Reeves Center
Center                                                                                  2000 14th Street, NW, Suite 300N
118 Q Street, NE                                                                        Office of the Tenant Advocate
Washington, DC 20002                                                                    Washington, DC 20009
                                                                                        *No se puede entrar sin cita previa*

  Si desea usar un sitio remoto para su audiencia, llame al 202-879-1900 o envíe un mensaje de correo electrónico a
  DCCourtsRemoteSites@dcsc.gov al menos 24 horas antes de la audiencia, para reservar una estación de
  computadora de acceso remoto. Si necesita adaptaciones especiales, como un intérprete para la audiencia, llame
  al 202-879-1900 al menos 24 horas antes de la audiencia para que los Tribunales puedan hacer los arreglos
  necesarios.

  *Cuando concurra al sitio programado debe llevar los siguientes artículos*

                   1. Su número de caso y todos los hipervínculos que le hayan proporcionado los
                      Tribunales para la audiencia programada.

                   2. Cualquier documento que necesite para la audiencia (prueba), incluidos documentos
                      probatorios, recibos, fotos, contratos, etc.

                   3. Materiales para tomar nota, como papel y lápiz.
  *Los sitios de acceso remoto cuentan con medidas de seguridad y protección.

  Información de contacto para programar su estación de computadora de acceso remoto:
  Teléfono: 202-879-1900
  Correo electrónico: DCCourtsRemoteSites@dcsc.gov




                                                             Page 6 of 6
